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     Telephone: (559) 487-5561
 5
 6   Attorney for Defendant
     CHRISTINA MARTINEZ
 7
 8                              IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,           )                 No. 1:15-cr-00046 LJO-SKO-1
                                         )
12               Plaintiff,              )                 STIPULATION TO MODIFY
                                         )                 CONDITIONS OF PRETRIAL
13         v.                            )                 RELEASE: ORDER
                                         )
14   CHRISTINA ANTONIA MARTINEZ,         )
                                         )
15               Defendant.              )                 Judge: Hon. Lawrence J. O’Neill
                                         )
16   ____________________________________)

17
18          IT IS HEREBY STIPULATED by and between the parties hereto, through their
19   respective counsel, that effective forthwith the conditions of Pretrial Release for Christina
20   Martinez shall be modified to remove the condition that she be placed in the custody of her
21   father, Robert Martinez.
22          Pretrial Services Officer Alicia Mirgain has informed the parties that Robert Martinez
23   recently passed away and can no longer serve as defendant’s custodian. Because Ms. Martinez
24   has complied with her conditions of pretrial release for three years, since February 26, 2015,
25   Pretrial Services has suggested that removal of Ms. Martinez’s third party custodian release
26   condition is appropriate. The parties agree that removal of the condition requiring a third party
27   custodian is proper and request that Ms. Martinez’s conditions of release be so modified.
28
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 1           All other conditions of release will remain in full force and effect. The parties believe the
 2   remaining conditions are adequate to reasonably assure Ms. Mar6tinez’s presence at all further
 3   proceedings, and to protect the safety of the community.
 4
 5                                                          Respectfully submitted,
 6                                                          McGREGOR W. SCOTT
                                                            United States Attorney
 7
 8
 9   DATED: February 21, 2018                               /s/ Kathleen A. Servatius
                                                            KATHLEEN A. SERVATIUS
10                                                          Assistant United States Attorney
                                                            Attorney for Plaintiff
11
12                                                          HEATHER E. WILLIAMS
                                                            Federal Defender
13
14   DATED: February 21, 2018                               /s/ Eric V. Kersten
                                                            ERIC V. KERSTEN
15                                                          Assistant Federal Defender
                                                            Attorney for Defendant
16                                                          CHRISTINA MARTINEZ
17
18
19
20                                                 ORDER

21
     IT IS SO ORDERED.
22
         Dated:       February 22, 2018                      /s/ Lawrence J. O’Neill _____
23                                                  UNITED STATES CHIEF DISTRICT JUDGE
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25
26
27
28




      Martinez: Stipulation to Modify                 -2-
      Conditions of Pretrial Release
